Case 1:10-cr-00317-REB Document 735-6 Filed 01/17/14 USDC Colorado Page 1 of 7

NOTICE OF AND RESCISSION OF INQUIRY INTO MATTERS
SURROUNDING INCIDENT REPORT AND CONFISCATION OF PERSONAL
PRIVATE PROPERTY FOR CAUSE
NOTICE DATE: Day Fourteen Month One Year 2014 C.E.

Clerk of the Court

United States District Court
901 19th Street, Room A-105
Denver, Colorado 80294-3589

In reply to: "Case 1:10-cr-00317-REB Document 720 Filed 09/10/13 USDC Colorado Page 1 of
6 NOTICE OF AND INQUIRY INTO MATTERS SURROUNDING INCIDENT REPORT AND CONFISCATION OF
PERSONAL PRIVATE PROPERTY FOR CAUSE 1, Page 2 of 6 (2), Page 3 of 6 (3), Page 4 of 6 (4),
Page 5 of 6 (5), Page 6 of 6"

PLEASE TAKE NOTICE that I, Richard Kellogg Armstrong, sentient moral being rescind my
signature Richard Kellogg Armstrong and the original "Case 1:10-cr-00317-REB Document 720
Filed 09/10/13 USDC Colorado Page 1 of 6 NOTICE OF AND INQUIRY INTO MATTERS SURROUNDING
INCIDENT REPORT AND CONFISCATION OF PERSONAL PRIVATE PROPERTY FOR CAUSE 1, Page 2 of 6 (2),
Page 3 of 6 (3), Page 4 of 6 (4), Page 5 of 6 (5), Page 6 of 6" including every copy
bearing my signature and date, for cause. I made a mistake creating, signing and
presenting the NOTICE OF AND INQUIRY INTO MATTERS SURROUNDING INCIDENT REPORT AND
CONFISCATION OF PERSONAL PRIVATE PROPERTY FOR CAUSE. I repent of my sin.

I willingly, knowingly, voluntarily, intentionally and intelligently perform this act
and deed.

Inyy son, if you become surety for your friend, if you have shaken hands in a pledge for a stranger", ?"You
are snared by the words of your mouth; you are taken by the words of your mouth." 3"So do this y My son, and
geliver yourself; for you have come into the hand of your friend; go humble yourself; plead with your friend."
"Give no sleep to your eyes, nor slumber to your eyelids." -"Deliver yourself like a gazelle from the hand of
the hunter, and like a bird from the hand of the fowler."

I RESERVE ALL OF MY RIGHTS WITH EXPLICIT RESERVATION AND WITHOUT PREJUDICE.

Sincerely

FILED tps 4c GLE
UNITED STATES DISTRICT COURT phe Ll Ve ° . C)
DENVER, COLORADO Richard Kellogg Armstrong
c/o 20413-298
JAN 17 2014 ,

Federal Correctional
Institution - Lompoc

JEFFREY P. COLWELL 3600 Guard Road
CLERK Lompoc, California

Se NRE RT Ewe

 

Page 1 of 2
Case 1:10-cr-00317-REB Document 735-6 Filed 01/17/14 USDC Colorado Page 2 of 7

Case 1:10-cr-00317-REB Document 720 Filed 09/10/13 USDC Colorado Page 1 of 6

NOTICE OF AND INQUIRY INTO MATTERS SURROUNDING INCIDENT REPORT
AND CONFISCATION OF PERSONAL PRIVATE PROPERTY FOR CAUSE

o

Notice Date: Day Three Month: Nine Year: 2013 C.E.
FILED
: UNITED STATES DISTRICT COURT
Righard Ives : . . DENVER, COLORADO
Wa Correctional Institution 14:48 am, Sep 10, 2013
39 lein Boulevard

JEFFREY P. COLWELL, CLERK

  
 
     
  
  
 

   
  

, California 93436

   
     

     
     
 
   
 

e confiscation and later isso e of an inciden ‘Oo
car the weight of sanctions Sive ise to serious WuesNio
as my rights afforded by the Cc titution as well as
legj cy of the actions of certa\ -O.P. staff membe
hav articipated in this action. mu inquire into th at¥er
to the legitimacy of the addon and to seek out m ‘poténtia
fau . : \-

me WN
‘Inquiry is the way. to know things are truly lawfupP ,
nquire into doubtful matters if you wish to unde&st&md
he law well; _ ~ Se
- Inquire into’ doubtful mattérS Because by reasonin@ We.
arrive at legal reason. “4 \- " .

  
 

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AUTH

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- Nothing is so becoming t hority as to live in
conformity with the laws;

Offe who commands lawfully t be obeyed;
obedience is to be give a judge exceeding hi ffice
jurisdiction.

JUDGME

is a matter of import tola judge that nothing shofila

“Qe icc: more leniently orne e severely construe@fthen

   
  

cause itself demands;
ry conclusion of a good andltrue judgment arises fro
good and true premises; and verdicts of jurors;
- Judgment is the expression @f Nhe law.

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Case 1:10-cr-00317-REB Document 735-6 Filed 01/17/14 USDC Colorado Page 3 of 7

Case 1:10-cr-00317-REB Document 720 Filed 09/10/13 USDC Colorado Page 2 of 6

1. Is Mr. Scot Webster a licensed attorney? Is he a lawyer?

 
 
 

your opinion is Mr. Scot Webster an expert on the subject
matter on which his claim is based?

3. Dg you support his judgment in this matter?

4. you read and do you und
a ted by the previous Wa
1 Financing Statementsa

ayes identify any confisca
Tyee ide by any agency? ‘

5. u read and do you ae memorandum w

pe itheld from all inmates “KasQleen M. Kenny as

, r/General Counsel Janua 11, 2011 and if so \rilyo
nt is Mr. Scot Webster's tion | justified?

   
  
    

tand the memorandum written
Ms. Linda Sanders concerning

VY;

   
  
   

y declare the use of the te mNj.C.C. or referenc

   
  
  
 
 
  
  

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nh and Subsequent
O.P..-Policy (305- -P&sse on
‘Scot Webster,

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thleen M. Renny. the poste jorandum of Linda S

the l Department of FCI Lom ‘and yourself, or is. a

ster acting out of reta: ory intent as a “N\
Ws ons taken against him ey \enother inmate?

8. If the Legal Department is oueeyed with Jes WA
is wu in this facility, S.I.S. is charged with int
sec of the facility and staff, and both the Legal Wepartment
and @.I.S. have seen and authorized the materials that
her en confiscated as "hart\tiontraband" by Mr. Scot ster,
then you supporting Mr. Sco bgter in this action

tha Ngoth the Legal Department d §.I.S. do not fully goderstand
chet les in the functioning this facility and sho

rom Mr. Scot Webster's eX¥mple of "Personal In AS
RicuT \\

e who exercises hi flo own

t, and proceeds in an or 4 y fashion;
- Be law gives a right, gives a remedy to re rj

Mr. Scot Webster's confis
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ho exercises his legal hts injures no one;
is considered to have\committed a wrong who excercises
Ms legal rights;

- is the rule of righ ye watever is contrary to
le of right is an jury.

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Case 1:10-cr-00317-REB Document 735-6 Filed 01/17/14 USDC Colorado Page 4 of 7

Case 1:10-cr-00317-REB Document 720 Filed 09/10/13 USDC Colorado Page 3 of 6

1. Is there, in valid force, a Constitutional Rights of Inmates?

   
  
 
   

   
  
 

  
    
    

   
  

 

2. there established case law which prohibits disciplinary
aftion against an inmate for attempting to gain access to
e courts?
3. Is cot Webster, in your djudgment, attempting to reinstate
ng ruled against policy d practice of wholesale
Scation of my work prod ready received courts
as 11 as pending material as private per and
bfsiness correspondence-in an to deny me my Yu
r of guaranteed access to e courts free from ary
i: ?
4. In porting the actions of . ot Webster are hed
sition that the Constitutildxa ights of Inmates‘ i f
. ect? . \ .
5... ou, in supporting Mr. Sc Webster's actions imthig |
. denying me access to th purts as guaranteed by the ©
ConS@gtutional Rights of Inmate?

(" - .  DISCRET

  

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“He'is the best judge who “le
pscretion; | , *
wWlhat is the best system a
, ‘the discretion of the hy
"ws leaves the least to wi
1. Does the record reflect that T have sought relief froW eakh
m ex gf my chain of command leaving no other optiog the
to for you; the Warden Beeener warranted in Ng instances
2. Ho n the "Personal Interpretations" of Mr. Scot Webptes
be red above your Legal Depa tment and S.I.S.?
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3. I

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U.D.C. or D.H.O. Process Mo they have the lawf
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uity before his eyes;
what is just and right,

- judge ought to always hav
- *Go judges decide according
@and prefer equity to stri

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Case 1:10-cr-00317-REB Document 735-6 Filed 01/17/14 USDC Colorado Page 5 of 7

Case 1:10-cr-00317-REB Document 720 Filed 09/10/13 USDC Colorado Page 4 of 6

JUSTICE

- Justice is neither to be denied nor delayed;

- Justice knows neither Father nor Mother; justice looks
to the truth;

- Justice is to be denied to no one;

- Power ought to follow justice; not preceded it.

   
 
  

PUNISHMENT

     
 
   
   
    

 
  
   

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If punishment is inflidted
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It is always safer to e
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so, who has given such instruction and why?

Ar€ B.O.P. staff allowed or e rage by any policy Sgegulation,
or law to censor, examine, or\confiscate the legal wor

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serve, and file paperg a
ws prosecute legal actions affe g my personal liberty]?
6. avegthe Courts ruled that cong fecation of materials n¥ges\ary
ford reasonable access to e Courts is a denial my
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7. ale there be any other vie
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allowing or causing the co
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Does the record reflect that
Webster that he provide me with th
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permitfeq to use it as the chargin “and convicting force of their
ims 5.

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Case 1:10-cr-00317-REB Document 735-6 Filed 01/17/14 USDC Colorado Pag

Case 1:10-cr-00317-REB Document 720 Filed 09/10/13 USDC Colorado Page 5 of 6

Am I afforded the Protections of the Constitution in that
am to be confronted with the witnesses against me insomuch as
ould not expect Kathleen mM, Kenny to be called but her alleged
mehorandum in full unedited form produced?
I am attempting to seek equitable remedy and need to know
j be found within these walls?

  

THE RE: WHAT IS my EQUITABL

 
 
   

    
  
 
 

I request that the material
retu d in recognition of the ade confiscating ngement
of e Confiscation form from m 1 File, expungem
the ident Report written and ervedon me 8/30/2012,
of adjudication as well as a Sanctions which may h

_ imp or may be contemplated of ese allegations along\wit
any findings. .

  
 
 

 
   
   
  
 
 

If I e no remedy,- or if you pyrbvide me no remedy, I a al
to tf ITED STATES. DISTRICT COURT or higher Since, I have no :
abi to sustain: a personam Stam@k in’ Judicio pursuant the
Act. tober 6, 1917 as amend .
ALL MY RIGHTS WITH. EXPL RESERVATION AND WwITg T .
CE. eo, See . ..
\ . .

\ Sincerely,

Richard Kellogg armstto :
C/o 20413-298
Federal Correctional tifution

3600 Guard Road
Lompoc, California

 
 

     

  
     
    
  

cc: Mr. Seo Webster, Unit Manager, Federal Corr 1 nstitution, 3600 Guard Road, S
Cal la 93436 ‘
cc: Leg artment, Federal Correctional Institub\on, 3901 Klein Boulevard, Lompoc,
Cali 93436 N
cc: S.1.§. Long & Macias, Federal Correctional Ins tution, 3600 Guard Road, Lompoc,
Cali a 93436 4 |
cc: Kathlee Kenny, Assistant Director/General td ell, 950 Pennsylvania Avenue, NW
W nm, DC 20530-0001
ce: Offic e Inspector General, 950 Pennsylvania } ue, NW Room # 4726,
Washin DC 20530 XN
cc: ACLU National Offices, 1875 Connecticut Avenue /\\ Mite #410, Washington, DC 20009

ige Building, Washington, DC 20510
901 19th Street, Denver, Colorado 80294
, Los Angeles, California 90012

cc: UNITED STATES DISTRICT COURT DISTRICT OF COLO
cc: UNITED STATES DISTRICT COURT, 312 North Spring tree

XN

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ce: Tom McClintock, House of Representatives, House, Of

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Case 1:10-cr-00317-REB Document 735-6 Filed 01/17/14 USDC Colorado Page 7 of 7

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